             Case 18-30197 Document 116 Filed in TXSB on 02/16/18 Page 1 of 2



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION                                                        ENTERED
                                                                                                              02/16/2018
                                                         §
    In re:                                               §
                                                         §      Chapter 11
                                                  1
    LOCKWOOD HOLDINGS, INC., et al.,                     §
                                                         §      Case No. 18-30197 (DRJ)
               Debtors.                                  §
                                                         §      Jointly Administered
                                                         §

       ORDER GRANTING DEBTORS’ EXPEDITED UNOPPOSED MOTION TO (I)
    REJECT NON-RESIDENTIAL REAL PROPERTY LEASE PURSUANT TO 11 U.S.C.
     § 365, EFFECTIVE AS OF THE FIRST PETITION DATE (FOREST PARK, OHIO)
                AND (II) ABANDON CERTAIN PERSONAL PROPERTY
                                                      (Docket No. 107)
             Upon the Expedited Unopposed Motion (the “Motion”) to (I) Reject Non-Residential

Real Property Lease Pursuant to 11 U.S.C. § 365, Effective as of the First Petition Date (Forest

Park, Ohio) and (II) Abandon Certain Personal Property, filed by Lockwood Holdings, Inc. and

certain of its affiliates, the above-captioned debtors and debtors in possession (collectively, the

“Debtors”); and the Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§

157 and 1334, and consideration of the Motion being a core proceeding pursuant to 28 U.S.C. §

157(b)(2); and the Court finding that the relief requested in the Motion is in the best interests of

the Debtors and their estates; and it appearing that due and sufficient notice of the Motion has

been provided by the Debtors and that no other or further notice is required; and upon the

hearing on the Motion conducted on February 21, 2018 and the record made thereat; and after

due deliberation and good cause appearing therefor, it is HEREBY ORDERED THAT:

             1.     The Motion 2 is granted as set forth herein.

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); Lockwood Enterprises, Inc. (6504); LMG Manufacturing, Inc. (9468); and
7807 Eagle Lane, LLC (7382).



4489066.1
            Case 18-30197 Document 116 Filed in TXSB on 02/16/18 Page 2 of 2



            2.      Pursuant to section 365 of the Bankruptcy Code, the Lease is hereby deemed

rejected, with such rejection to be effective as of the First Petition Date.

            3.      Pursuant to section 554(a) of the Bankruptcy Code, any personal property of

Debtors remaining in the Leased Premises as of February 21, 2018 at 11:59 p.m. (prevailing

Ohio time) shall be deemed abandoned.

            4.      Nothing in the Motion or this Order shall be deemed or construed as a waiver of

any claims that the Debtors have or may have against the Landlord, whether or not such claims

arise under, are related to the rejection and termination of, or are independent of the rejected and

terminated Lease.

            5.      The Landlord shall file a rejection damages claim, if any, relating to the rejection

of the Lease by the claims bar date established in these chapter 11 cases.

            6.      The terms and conditions of this Order are immediately effective and enforceable

upon its entry.

            7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

            8.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



    Signed: February, 2018
Dated:                15, 2018.
Houston, Texas                                          HONORABLE DAVID R. JONES
                                                          ____________________________________
                                                        CHIEF UNITED STATES BANKRUPTCY JUDGE
                                                          DAVID R. JONES
                                                          UNITED STATES BANKRUPTCY JUDGE




2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



4489066.1
